Case 1:18-cv-01425-SEB-DML Document 9 Filed 08/14/18 Page 1 of 1 PageID #: 29
                                                        Acknowledged.

                                                                         This action is hereby
                         UNITED STATES DISTRICT COURT                    dismissed with prejudice.
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION                              8/14/2018
                                                                         Date: _________

KEVIN CLIFFORD,                          )                         _______________________________

                                         )                          SARAH EVANS BARKER, JUDGE
                                                                    United States District Court
                    Plaintiff,           )                          Southern District of Indiana
                                         )
v.                                       ) CASE NO. 1:18-CV-1425-SEB-DML
                                         )
FENTRESS ENVIRONMENTAL                   )
SERVICES, INC. d/b/a                     )
SERVICEMASTER BY F.E.S.                  )
and BRYCE BELLER                         )
                                         )
                    Defendants.          )

                     NOTICE OF DISMISSAL WITH PREJUDICE

      Plaintiff Kevin Clifford, by counsel, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), hereby dismisses his claims against Defendants, Fentress

Environmental, Inc. d/b/a Servicemaster by F.E.S. and Bryce Beller, with prejudice.


                                                Respectfully submitted,



                                                /s/Robert J. Hunt
                                                Robert J. Hunt (#30686-49)
                                                The Law Office of Robert J. Hunt, LLC
                                                1905 South New Market Street, Ste 220
                                                Carmel, Indiana 46032
                                                Telephone: (317) 743-0614
                                                Facsimile:    (317) 743-0615
                                                E-mail:       rob@indianawagelaw.com

                                                Attorney for Plaintiff
